Subject:    Andrews v. Tri Star - Proposed Protec5ve Order
Date:       Thursday, January 6, 2022 at 11:22:41 AM Central Standard Time
From:       Betsy Hart
To:         Daniel Arciniegas, roland@mumfordlaw.net
CC:         Tara Swaﬀord
A7achments: image001.jpg, Tri Star Proposed Protec5ve Order .docx

Daniel and Roland,

Hope you all are enjoying the snow some today. After review of our client’s document production, we have
determined that we will need the protective order to include a highly confidential/attorneys’ eyes only
designation, in addition to the standard confidential designation. We have revised the proposed protective
order to reflect that change. Please let us know if we can file this as an agreed order or if we need to file a
motion. We are happy to discuss any time. Thanks.




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         Case 3:21-cv-00526 Document 19-5 Filed 03/03/22 Page 1 of 1 PageID #: 125                                                                  Page 1 of 1
